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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  HUMAN RIGHTS DEFENSE CENTER,

                  Plaintiff,

                           v.
                                                             Civil Action No. 21-2076 (CJN)
  TRANSPORTATION SECURITY
  ADMINISTRATION,

                  Defendant.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order entered on January 21, 2022, Plaintiff the Human

Rights Defense Center and Defendant the Transportation Security Administration (“TSA”) hereby

provide the Court with the following Joint Status Report.

       1.       This matter arises out of a FOIA request Plaintiff submitted to TSA. See Compl.

(ECF No. 1) at 4. According to the Complaint, the request sought:

             a. Records, regardless of physical form or characteristics, sufficient to show for all

                claims or lawsuits brought against the TSA and/or any of its agents or employees

                in which payments totaling $1,000 or more were disbursed from January 1, 2011 to

                the present:

                     i. The name of all parties involved;

                    ii. The case or claim number;

                   iii. The jurisdiction in which the case or claim was brought (e.g., U.S. District

                        Court for the District of Columbia, D.C. Superior Court, etc.);

                   iv. The date of resolution;
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                   v. The amount of money involved in the resolution and to whom it was paid.

            b. For each case or claim detailed above:

                   i. The complaint or claim form and any amended versions;

                   ii. The verdict form, final judgment, settlement agreement, consent decree, or

                      other paper that resolved the case.

      2.       Plaintiff filed the Complaint on August 2, 2021, see Compl., and Defendant filed

an Answer on October 13, 2021, see ECF No. 7.

      3.       The parties update the Court as follows:

            a. As previously reported, TSA has collected over 1500 pages of records pursuant to

               the parties’ agreement on search terms and is currently processing them in

               preparation for production.

            b. The parties do not request a summary judgment briefing schedule at this time, and

               propose to file another joint status report on August 18, 2023, in order to update the

               Court on the agency’s processing of Plaintiff’s FOIA request, and to provide a

               proposed briefing schedule if necessary.




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Dated: June 12, 2023
       Washington, DC                       Respectfully submitted,


 For Plaintiff:                             For Defendant:


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